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WESTLAW

§ 40-35-203, Imposition of sentence
TN ST § 40-35-203 : West's Tennessee Code Annotated = Tille 40. Criminal Procedure , Effective: August 17, 2010 (Approx. 2 pages)

West's Tennessee Code Annotated

Title 4o. Criminal Procedure
Chapter 35. Tennessee Criminal Sentencing Reform Act of 1989 (Refs & Annos)

Part 2, Procedure for Imposing Se Sentence

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Effective: August 11, 2010

T. CA. § 40-35-203 °° te

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§ 40-35-203. Imposition of sentence

Currentness

(a) Except as provided in subsection (c) and with respect to fines as provided in § 40-35-301, sentences in
felony and misdemeanor cases shall be imposed by the court. Upon a verdict or plea of guilty, the court
shall set and conduct a sentencing hearing except as provided in subsection (b). Evidence may, but need
not, be presented by both the defendant and the district ‘attorney general on any matter relevant to the
issue of sentencing, The sentencing hearing may occur immediately after guilt is determined, subject to
the rights of the parties to postpone the hearing under § 40-35-209(a),

(b) Where the sentence is agreed upon by the district attorney general and the defendant and accepted by
the court, the court may immediately impose sentence as provided in § 40-35-205(d) and no specific
_ sentencing hearing or presentence reports shall be required, The judge may, in the judge's discretion,

direct that a ‘complete ‘presentence report be prepared, No défendant sentenced to the custody of the =~ bh. b, f
department of correction shall be committed or conveyed to the department unaccompanied by the “v A
completed presentence report or investigation and report required by § 4()-35- 209(d)\(1). Furthermore, a Steerer

 

presentence report or investigation and report shall be prepared on all defendants sentenced to a period of
continuous confinement of one (1) year or greater in a local jail or workhouse, This requirement shall not
be cause for delay in conveying the defendant to the local institution to which the defendant has been
committed, There shall be a presentence report and hearing on any issue of sentencing not agreed upon by
the parties and accepted by the court.

(c) If a capital offense is charged and the jury returns a verdict where death is a possibility, the jury shall ©
fix the punishment in a separate sentencing hearing as otherwise provided by law, unless the jury is
waived as to punishment. ‘

(d) If the trial judge who presided at the trial on the merits is unavailable because of death, resignation,
retirement, ill health or loss of jurisdiction, another judge appointed by the chief justice of the Tennessee

 

supreme court may impose the sentence.

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(opt the criminal offense for which the defendant is charged carties ati enhanced punishment for a EL. YX hy ‘ J by vof Ct Or 5
second or subsequent violation of the same offense, the indictment in a separate count shall specify and °
charge that fact. If the defendant is convicted of the offense, then the jury must find that beyond a
reasonable doubt the defendant has been previously convicted the requisite number of times for the same
offense. Upon such finding, the defendant shall be subject to the authorized terms of imprisonment for the
” felonies and misdemeanors as set forth in § 40-35-11 1.

Credits
1989 Pub.Acts, c. 591, § 6; 1990 Pub.Acts, c. 980, 8 24.

Editors' Notes

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 14 of 55 PagelD #: 14
 

warden v. State | WestlawiNext Page 1 O14

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Warden v. State
Supreme Court of Tennessee, ' July 15,1964 | 18 McCanless 391 } 214 Tenn. 391 ° 381 S.W.2d 244 (Approx. 5 pages)

18 McCanless 391
Supreme Court of Tennessee,

Lynn WARDEN and Eunice Barrowman
Vv.
STATE of Tennessee.

July 15, 1964.

Synopsis

The defendants were convicted of possession of intoxicating liquors for sale, as a second-offense felony.
The Criminal Court, Washington County, Oris D. Hyder, J., gave judgment, and the defendants appealed
in error. The Supreme Court, Felts, J., held that indictment charging that defendants poassessed
intoxicating liquor and that offense was a second or subsequent violation and as such constituted a
felony in that defendants had been indicted for possessing intoxicating liquors was defective for failure

to allege fact of conviction of prior possession.

Reversed and remanded for further proceedings not inconsistent with opinion.

West Headnotes (5)

 

Change View

1 Sentencing and Punishment &* Requisites and sufficiency of accusation
Indictment charging that defendants possessed intoxicatin g liquor and that offense was a
second or subsequent violation of the statute and as such constituted a felony “the defendants
having theretofore in this court and by this grand jury been indicted for possession of
intoxicating liquors” and “upon conviction for either of said offenses, the offense herein
presented is a felony” was defective for failure to allege fact of conviction of prior possession.
T.C.A. §§ 39-2504, 39-2527, 39-2528, 40-1802; Const. art, 1, § 9.

6 Cases that cite this headnote

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2 Indictments and Charging Instruments © Matters of fact or conclusions

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Indictment must state such facts. and cir cumstances as will constitute the crime, and not
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merely a legal result or conclusion. T.CA. § 40-1 802, ta
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7 Cases that cite this headnote .

3 Sentencing and Punishment &** Requisites and sufficiency of accusation
Where a statute pr ovides for proof of prior convictions and requires increased punishment for

 

second or subsequent offenses, the indictment, in order to charge.a second or subsequent ~~ 2
offense, must aver not only the convictions of prior offenses, but also such circumstances es of
time and place as to inform the accused of what proofs of prior offenses may be offered

against him and enable him to be prepared to make his defense; and an indictment failing in

 

 

 

 

 

 

 

these requisites is invalid and a conviction based thereon is void.
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8 Cases that cite this headnote

4 Indictments and Charging Instruments = Evidence admissible under charging

‘instrument

Indictments and Charging Instruments © Sufficiency of accusation

Where pleading or indictment is defective in its statement of cause of action and such defect
would be fatal on demurrer or motion to quash, it will be cured on trial if issues made by

pleadings required proof of the facts so defectively stated or omitted; this rule does not apply os”
where pleading or indictment wholly fails to state a cause of action, and in such case proof of

facts not averred cannot be admitted in evidence.

3 Cases that cite this headnote

5 Criminal Law oO Requisites and Sufficiency of Judgment
A judgment entered on a void pleading is void.
perry Tear er eT reser rere

1 Case that cites this headnote

 

 

Attorneys and Law Firms
*392 **244 Thomas E. Mitchell, Johnson City, for plaintiffs in error.

George F. McCanless, Atty. Gen., Edgar P. Calhoun, Asst. Atty. Gen., Nashville, for the State.
Opinion
FELTS, Justice.

Plaintiffs in error were convicted of possession of intoxicating liquors for sale, as a second-offense
felony (T.C.A. §§ 39-2527, 39-2528), and their punishment fixed by the jury at three years in the
pentientiary. The Trial Judge entered judgment sentencing them to not less than one year nor more than
three years in the penitentiary. They appealed in error.

T.C,A. § 39-2527 makes possession of intoxicating liquors for sale a misdemeanor **245 punishable by
fine of not less $100.00 nor more than $500.00, and imprisonment for not less than 30 days nor more
than six months. T.C.A. § 39-2528 provides that a ‘second or subsequent violation’ of § 39-2527 shall
be a felony punishable by imprisonment of not less than one year, nor more than five years, in the

penitentiary.

I The question in the case is the validity of the indictment: whether it stated facts and circumstances
as to the prior offenses sufficient in law to constitute a second-offense felony under the statute, and to
give plaintiffs in error the requisite notice as to the prior offenses to be proved against them. The
indictment, in one count, charged them with possession of intoxicating liquors on March 30, 1963, and

that

“the offense herein presented is a second or subsequent violation of Section 39-2527, Tenn.Code Ann.
and as such constitutes a felony as provided by Section 39-2528, Tenn.Code Ann., the defendants having
heretofore in this Court and by this Grand Jury been indicted for possession intoxicating liquors in
‘violation of Sect. 39-2527, T.C.A., and on Jan. 19, 1963, on January 22, 1963, and on January 26, 1963,
and upon conviction *394 for either of said offenses, the offense herein presented is a felony, * * *?

(italics ours),

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warden V, State | WestlawNext Page 3 of 4

2 This question involves a constitutional right of the accused—the right ‘to demand the nature and
cause of the accusation against him, and to have a copy thereof? (Art. 1, sec. 9, same in our prior
Constitutions). This is said to be a principle ‘as old as the common law’; it is that the indictment must bon
state ‘such facts and circumstances as will constitute the crime, and not merely a legal result’ or
conclusion (italics ours), Pearce v. State, 33 Tenn. 64, 67-68 (1853); Hall v, State, 43 Tenn. 125, 128
(1866); Cornell v. State, 66 Tenn. 520, 523 (1874).

This principle has been embodied in our statute (1932 Code sec. 11624, T.C.A. § 40-1802): ‘The

indictment must state the facts constituting the offense in ordinary and concise language, * * * in such a eo
manner as to enable a person of common understanding to know what is intended, and with that degree

of certainty which will enable the court, on conviction, to pronounce the proper judgment * * *,’

In Inman v. State, 195 Tenn. 303, 304-305, 259 §.W.2d 531 (opinion by Associate, now Chief, Justice
Burnett), it is said the test of the sufficiency of an indictment of presentment is

“whether it contains the elements of the offense intended to be charged, ‘and sufficiently apprises the
defendant of what he must be prepared to meet, and, in case any other proceedings are taken against him
for a similar offense, whether the record shows with accuracy to what extent he may plead a former

acquittal or conviction.”

*395 We think the indictment here failed to meet this test—failed to state facts and ciricumstances
sufficient in law to constitute the elements of the felony on which plaintiffs in error were tried and
convicted, Such elements are (1) that they had possession of intoxicating liquor for sale; and (2) that
such possession was ‘a second or subsequent violation’ of T.C.A. § 39-2527, and, therefore, a felony

under § 39-2528,

ee

So, it was uncessary that the indictment state not only the fact of such possession, but also the fact that it

was a second possession with reasonable certainty as to places and times of the prior possession or ken’
possessions so as to apprise plaintiffs in error of what they ‘must be prepared to meet,’ and to show ‘with
accuracy’ to what extent they may plead the acquittal or conviction as a bar to subsequent similar

proceedings against them.

As we have seen, the indictment did state that ‘the offense herein presented is a second or subsequent
violation’ of § 39-2527, and a felony under § 39-2528. This, however, was not a ‘complete description
of **246 such facts and circumstances as constituted the crime,’ but was a mere statement of a legal
result or conclusion and, therefore, insufficient to charge any offense or inform defendants what they
were called on to meet. Pearce v. State, supra; Cornell v. State, supra; Jones v. State, 84 Tenn, 466, 468,
Robinson v. City of Memphis, 197 Tenn. 598, 602-603, 277 S.W.2d 341. -

The pleader apparently recognized this deficiency, for he went on to state: ‘defendants having heretofore

in this Court and by this Grand Jury been indicted for possessing intoxicating liquors * * * and upon e
conviction for either of said offenses, the offense herein presented is a felony * * *° (italics ours). This,

however, was not an *396 averment of the facts constituting a felony, but merely a hypothetical

averment that defendants had been indicted and, if convicted on either of such indictments, ‘the offense

herein presented is a felony.’

An averment of possession in violation of § 39-2527, plus an averment that the possessor had been

indicted for prior possessions without averring a conviction under such indictments, was insufficient to @<<
charge a felony under § 39-2528: In order to do that, it was necessary for the pleader to aver not merely \
an indictment, but the fact of conviction of prior possession. It is expressly so provided under our

statutes forbidding sales of intoxicants and making the second sale a felony. T.C.A. § 39-2504,

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Warden v. State | WestlawNext Page 4 ot 4

3 We think this case comes within the principle established by d decisions of this Court and ofthe
federal courts, to the effect that where a statute provides for proof ‘of F prior convictions and requires
incr eased 1 punishment for second or subsequent offenses, the indictment, in order to charge a second {or we
subsequent offense, must aver not only the convictions of prior offenses, but also such circumstances of
time and place as to inform the accused of what proofs of prior offenses may be offered against him and
. enable him to be prepared to make his defense; and an indictment failing in these requisites is invalid ~

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“and a a conviction based thereon is void.
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Some of the cases so holding are Rhea v. Edwards (U.S.Dist.Ct., Tenn., opinion by Judge Davies, 1955
(involving our Habitual Criminal Act, now T.C.A. §§ 40-2801, 40~2804)), 136 F.Supp. 671, aff'd sub

nom, Edwards v. Rhea, 6 Cir., 238 F.2d 850; In re Boyd (U.S.Dist.Ct.; Tenn., opinion by Judge Miller,

1959 (involving our Habitual Criminal Act)), 189 F.Supp. 113, affd sub nom. *397 Bomar v. Boyd, 6 a
Cir., 281 F.2d 195; Frost v. State (opinion by Justice Tomlinson, involving second-offense conviction of

driving while drunk (T.C.A. §§ 59-1031, 59-1035)), 203 Tenn. 549, 314 S.W.2d 33; Frost v. State

(second appeal (opinion by Justice Tomlinson)), 205.Tenn. 671, 330 S.W.2d 303, 80 A.L.R.2d.1191,

4 5  Itis true that in the case before us there was no motion to quash the indictment, as there was
in the Frost case, supra. It is also true that where a pleading or an indictment is defective in its statement = ,2--~
of the cause of action and such defect would be fatal on demurrer or motion to quash, yet it will be cured
on the trial if the issues made by the pleadings required proof of the facts so defectively stated or
omitted. Magevney v. Karsch, 167 Tenn. 32, 48, 65 S.W.2d 562, 92 A.L.R. 343.

But this rule does not apply where the pleading or indictment wholly fails to state a cause of action. In

such case, proof of facts not averred cannot be admitted in evidence. As said by Judge Tomlinson in

Robinson v. City of Memphis, supra, it is necessary to distinguish between a pleading that is void and a=
one that is merely defective.or voidable only (197 Tenn. 602-603, 277:S,W.2d 343-344). In the former

case, a judgment entered on such pleading is void.

It seems clear that if a judgment should be entered upon the indictment before us and if plaintiffs in error
Were imprisoned thereunder, such judgment and imprisonmént **247 would be held void and illegal

‘pon habeas corpus under Rhea v, Edwards, supra and In re Boyd, supra.
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For these reasons, the judgment below is reversed and the case is remanded for further proceedings not

 

inconsistent with this opinion.
All Citations

18 McCanless 391, 214 Tenn. 391, 381 S.W.2d 244

 

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State v. Sanders
Court of Criminal Appeals of Tennessee, at Jackson. | May 20,1987 ‘ 735S.W.2d 856 (Approx, 4 pages)

735 S.W.2d 856
Court of Criminal Appeals of Tennessee,
at Jackson.

STATE of Tennessee, Appellee,
Vv.
Virgil Wayne SANDERS, Appellant.

No. 5
May 20, 1987.

Synopsis

Defendant was convicted of driving under the influence and driving while license was revoked,
following jury trial in Hardeman County, Jon Kerry Blackwood, J., and he appealed. The Court of
Criminal Appeals, Jones, J., held that: (1) defendant could not be sentenced as recidivist where
indictment did not allege that defendant had previously been convicted of driving while under the
influence of alcohol, despite notices of enhanced punishment filed by the district attorney general, and
(2) it was for jury rather than trial court to:'determine whether defendant was a second or subsequent
offender and, if so, to establish'the maximum fine,

Affirmed in part and sentence. set aside and cause remanded in. part.

 

"West Headnotes es (4)

Change View

1 Automobiles @> Repeat Offenders
An accused who has been convicted of driving while under the influence may not be
sentenced as a recidivist.unless his prior conviction or convictions for driving while under the
influence are alleged in the indictment or charging instrument; word “must” in statute
requiring such an allegation in the indictment or charging instrument is mandatory. T.C.A. §
55--10-403(g).

6 Cases that cite this headnote

2 Automobiles oe “Repeat O Offenders
Where indictment did not allege that defendant had been previously convicted of driving
“While under the influence, he co could not be sentenced as a recidivist, and notices of enhanced
pe rR en ee ap URE En A FE
punishment filed by the district.attorney general were nullities. T.C.A. §§ 40-35-101 et seq.,

 

 

—
4 Cases that cite this headnote
3 Automobiles GS Driving While Intoxicated
In prosecution for driving while under the influence, it was for jury, not the trial judge, to
determine whether defendant had been previously convicted of two offenses of driving under

 

“4035-202, 55—-10-403, 55—10-403(g). —
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the influence, and to establish the maximum fine if defendant was found to be a second or

subsequent offender.

8 Cases that cite this headnote

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4 Fines @ Imposition a and Liability in General
Under State Constitution, trial court could not impose fine in excess of $50 absent waiver by
|

defendant of the constitutional provision. Const. Art. 6, § 14.

7 Cases that cite this headnote

 

Attorneys and Law Firms

*856 Mike Mosier, Henderson, for appellant.

W.J. Michael Cody, Atty. Gen. and Reporter, James W. Thompson, Asst. Atty. Gen., Nashville, Paul G.
Summers, Dist. *857 Atty. Gen., Steve Weitzman, Asst. Dist. Atty, Gen., Sommerville, for appellee,

OPINION

JONES, Judge.

The defendant, Virgil Wayne Sanders, was convicted of driving while under the influence and driving
while license revoked by a jury of his peers. The defendant was sentenced to pay a fine of $10.00 and
serve, two (2) days in the Hardeman County Jail for the offense of driving while license revoked. The
trial judge, apparently finding this was the defendant's third offense for driving while under the influence
sentenced the defendant to pay a fine of $1,000.00 and serve a term of eleven (11) months and twenty-
nine (29) days in the Hardeman County Jail. The trial judge suspended all but 120 days of the sentence;
and ordered that the two (2) sentences would be served concurrently,

After the trial court denied the defendant's motion for a new trial he appealed as of right to this Court

pursuant to Rule 3(b), Tenn.R.App.P. In this Court the defendant raises but a single issue. He contends

that he should have been sentenced ed as a | first offender, not as a third offender, for the offense of driving —"
while under the influence. The State ofT Tennessee, confessing étror in its brief, agrees that the defendant

"should have been sentenced as a first offender under the facts and circumstances of this case.

eed

 

On the 6th day of January, 1986, the appellant was indicted by the Hardeman County Grand Jury for the
offenses of driving while under the influence and driving a motor vehicle after his license had been
canceled, suspended or revoked. The indictment did not allege or mention the appellant had been

previously convicted of driving while under the influence.

On January 17, 1986, the District Attorney General filed a “Notice of Enhanced Punishment.” This
pleading alleged the appellant had previously been convicted of driving while under the influence of
August 3, 1984, in the General Sessions Court of Hardeman County, and the State would seek to
enhance his punishment for the offense of driving while under the influence, if convicted. On February
10, 1986, the District Attorney General filed an “Amended Notice of Enhanced Punishment.” This
pleading alleged that the defendant had been convicted of driving while under the influence on June 16,
1978, and February 16, 1979, in the General Sessions Court of Hardeman County in addition to the
conviction of August 3, 1984. The State again stated in the notice that it would seek to enhance the-
defendant's punishment, if he was convicted of the offense.

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The trial court entered a judgment on the verdicts of the jury finding the defendant guilty of both
offenses. The judgment does not mention a fine or that the defendant was found to be a third offender.
Nor does the applicable portion of the transcript of the proceedings. Apparently the trial judge, not the
jury, found the defendant had committed two (2) prior offenses of driving while under the influence.
However, neither the judgment on sentence nor the transcript of the sentencing hearing contains a
finding to this effect. The trial judge must also have thought that he had the power and authority to assess
a fine in excess of $50.00 without the approval of a jury.

1 An accused, who has been convicted of driving while under the influence, may not be sentenced as
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a recidivist unless his prior conviction or convictions for driving while under.the influences are alleged Fn
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in the indictment or charging instrument. T.C.A. § 55-10-403(g) provides:
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“In the prosecution of second or subsequent offenders the indictment or charging instrument must

allege the prior conviction or convictions for violating any of the provisions § 55-10-401—8 55—10- A
404, setting forth the time and place of each prior conviction or convictions.” (Emphasis added)

el :

The word “must”, as used in the statute, means “1: an imperative need or duty: REQUIREMENT 2: An
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indispensable item: ESSENTIAL.” Webster's New Collegiate Dictionary (1981) at-753, In this aaa
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jurisdiction the word “must”, like the word “shall”, “is ordinarily construed as being mandatory and not
fiscretionary” when used in constitutions or statutes. *858 Stubbs v, State, 216 Tenn. 567, 393 S.W.2d

150, 154 (1965); Blankenship v. State, 223 Tenn, 158, 443 S.W.2d 442, 445 (1969),

 

 

 

 

 

 

2 The notices filed by the District Attorney General after the return of the indictment were nullities.
This Court has consistently held that sentencing in driving while under the influence cases are controlled
by T.C.A. § 55-10-403, not the Tennessee Criminal Sentencing Reform Act of 1982. See State v. Lowe,
661 S.W.2d 701, 703-704 (Tenn.Crim.App.1983); State v. Gurley, 691 S.W.2d 562, 563, 564
(Tenn.Crim.App.1984). The Attorney General for the State of Tennessee has reached this same
conclusion. Op.Tenn.Atty.Gen. 196 (1982). Thus, the trial judge's reliance upon T.C.A, § 40-35-202, as
a substitute for the mandate of T.C.A. § 55~10-403(g), was clearly erroneous.

Since the indictment did not allege the defendant had been previously convicted of driving while under
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the influence, the defendant could not be sentenced as a recidivist. He should have been sentenced as if

 

 

this were his first conviction.
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3 We note the trial judge, not the jury, determined that the defendant had previously been convicted <==
of two offenses of driving while under the influence; and the trial judge assessed a fine of $1,000.00

without first submitting the issue of the amount of the fine to the jury. This too was error.

When the indictment alleges the accused is a second or subsequent offender, a bifurcated proceeding is

mandated. The first phase of the proceeding addresses the issue of the guilt or innocence of the

‘defendant. In addition, the jury must determine the maximum amount of fine the trial judge may assess if

the defendant is punishable as a first offender, If the jury returns a verdict of guilty, the jury, not the trial a
judge, must determine whether the defendant is a second or subsequent offender beyond a reasonable

“doubt. In addition, the jury must establish the maximum fine the trial court may assess if the accused i is

“found to bé a second or subsequent offender, See State v. Raleigh C. Wiser. C.C.A. at Nashville, opinion

 

 

 

4 Atrial judge may not sentence a defendant to pay a fine in excess of $50.00, see Tenn.Const. Art.
VI, § 14, unless the defendant waives this constitutional provision, Stafe v. Durso, 645 §.W.2d 753
(Tenn.1983), or the parties waive a trial by jury. State v. Harless, 607 S.W.2d 492
(Tenn.Crim.App.1980), Absent one of these exceptions a trial judge must follow the procedure mandated

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by T.C.A, § 40-35-301(b). Since neither of these exceptions appears in the record presented to us for
review, we are of the opinion the trial judge exceeded his jurisdiction in fining the defendant the sum of

$1,000.00.

The record submitted to this Court for review does not contain the transcript of the trial evidence. Nor

does the record contain a pre-sentence report. This was waived by the parties. Furthermore, no evidence

was introduced at the sentencing hearing. Thus, we are of the opinion the interests of justice will best be »
served by remanding this cause to the trial court for a new sentencing hearing. When sentencing the
defendant, the trial judge shall impose a sentence within the range of punishment prescribed for a person
who has been convicted of his first offense of driving while under the influence, The trial judge may not,
however, assess a fine in excess of $50.00 for the reasons hereinabove enumerated,

The defendant's conviction for driving while license revoked and the trial judge's sentence for this

offense are affirmed,

The defendant's conviction for driving while under the influence is affirmed, However, the sentence
imposed by the trial judge is set aside; and this cause is remanded to the trial court for the purpose of
conducting a sentencing hearing and resentencing the defendant in a manner not inconsistent with this

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opinion.

DUNCAN and DAUGHTREY, JJ., concur.

All Citations

735 S.W.2d 856

 

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STATE OF TENNESSEE _ ) CRIMINAL COURT OF SHELBY COUNTY
)
SHELBY COUNTY ) MARCH TERM, 2009

£ ywbtCD)

Count |

THE GRAND JURORS of the State of Tennessee, duly selected, empaneled,
sworn and charged to inquire for the body of the county of Shelby, Tennessee, upon their
oath, present that:

MICHAEL BAILEY

$

between November 5, 2008 and November 10, 2008 in Shelby County, Tennessee, and
before the finding of this indictment, did unlawfully, intentionally or knowingly, take
from the person of RENEE LASATER certain property, to wit: a purse and contents and
keys, of value, by violence or by putting RENEE LASATER in fear, said taking
accomplished with a deadly weapon or by display of an article used or fashioned to lead
RENEE LASATER to reasonably believe the article to be a deadly weapon, in violation
of T.C.A, 39-13-402, against the peace and dignity of the State of Tennessee.

William L. Gibbons
‘District Attorney Gencral
30" Judicial District

 

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 23 of 55 PagelD #: 23
 

 

 

A.G, FILE # AS0632

 

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No, 8

 

 

STATE OF TENNESSEE
V.

MICHAEL BAILEY

 

Indictment for

AGGRAVATED ROBBERY

 

AGGRAVATED ASSAULT
T.C.A. 39-13-402 SCATS CODE - 21025
T.C.A, 39-13-102 : SCATS CODE - 30043
Witnesses:

- - .. Summon forthe State. - ©. - vA,
D. HOPKINS, MPD, ROBBERY BUREAU Li vl ht C dD)
M.FAIR MPD - ROBBERY BUREAU
F, WINSTON MPD
R.SABA MPD
5. FOGLESONG MPD
T.GATES MPD
M.BOSWELL MPD
RENEE LASATER
TOD SALIN

M. FAIR ’

Prosecutor

   

A True Bill

 

Date Indictment Returned: uf | H y G0

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 24 of 55 PagelD #: 24
 

 

STATE OF TENNESSEE )  _ CRIMINAL COURT OF SHELBY COUNTY

)
SHELBY COUNTY ) MARCH TERM, 2009

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Count 2

THE GRAND JURORS of the State of Tennessee, duly selected, empaneled,
sworn and charged to inquire for the body of the county of Shelby, Tennessee, upon their
oath, present that:

MICHAEL BAILEY

- between November 5, 2008 and November 10, 2008 in Shelby County, Tennessee, and
before the finding of this indictment, did unlawfully end. knowingly commit an assault on
TOD SALIN and use or display a deadly weapon and cause the said TOD SALIN to
reasonably fear imminent bodily injury, in violation of 1.C.A. 39-13-102, against the
peace and dignity of the State of Tennessee.

vent f

William L, Gibbons
District Attorney General
30" Judicial District

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 25 of 55 PagelD #: 25
 

A.G. FILE # AS0632A

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No.

 

 

STATE OF TENNESSEE
V.

MICHAEL BAILEY

 

Indictment for
AGGRAVATED ROBBERY

T.C.A, 39-13-402 SCATS CODE - 21025

 

Witnesses:

D. HOPKINS, MPD, ROBBERY BUREAU Summon for the State

-M.FAIR On OM , MPD - ROBBERY BUREAU. «. ae ot 5
F, WINSTON -» MPD yn. i
T.GATES _ Oy Ei ydilot C )
M,BOSWELL MPD
D.DESVERGNES MPD
LASHANDA JONES

M. FAIR

Prosecutor

A True Bill

 

Date Indictment Returned: 4 / 50/ Of

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 26 of 55 PagelD #: 26
 

 

STATE OF TENNESSEE _ ) ’ CRIMINAL COURT OF SHELBY COUNTY

)
SHELBY COUNTY ) MARCH TERM, 2009

Count 1

‘THE GRAND JURORS of the State of Tennessee, duly selected, empaneled,
sworn and charged to inquire for the body of the county of Shelby, Tennessee, upon their
oath, present that:

MICHAEL BAILEY Ey \vilot C dD)

_ on October 14, 2008 in Shelby County, Tennessee, and before the finding of this

* indictment, did unlawfully, intentionally or knowingly, take from the person of”
LASHANDA JONES certain property, to wit: a motor vehicle. a purse and contents and
keys, of the value of $1,000 or more, by violence or by putting LASHANDA JONES in
fear, said taking accomplished with a deadly weapon or by display of an article used or
fashioned to lead LASHANDA JONES to reasonably believe the article to be a deadly
weapon, in violation of T.C.A, 39-13-402, against the peace and dignity of the State of
Tennessee. .

wen |

William L. Gibbons
District Attorney General
30" Judicial District

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 27 of 55 PagelD #: 27

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STATE OF TENNESSEE
Vv.

MICHAEL BAILEY

 

Indictment for |
AGGRAVATED ROBBERY

T.C.A. 39-13-402 SCATS CODE - 21025

 

Witnesses:

Summon for the State
D. HOPKINS, MPD, ROBBERY BUREAU \

M.FAIR + ... MPD - ROBBERY BUREAU ,
F, WINSTON oa MPD | f- )
T.GATES “ MPD y Not
M.BOSWELL MPD é xe C )
J.OLIVER MPD
LATARSHA OWENS

M. FAIR

Proseculor
A True Bill

 

Date Indictment Returned: Af / Jo) OF

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 28 of 55 PagelD #: 28
 

 

STATE OF TENNESSEE _ ) CRIMINAL COURT OF SHELBY COUNTY

)
SHELBY COUNTY ) MARCH TERM, 2009

Count 1

THE GRAND JURORS of the State of Tennessee, duly selected, empaneled,
sworn and charged to inquire for the body of the county of Shelby, Tennessee, upon their
oath, present that:

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on October 15, 2008 in Shelby County, Tennessee, and before the finding of this
_.indictment, did unlawfully, intentionally or knowingly, take from the person of.

LATARSHA OWENS certain property, to wit:‘a purse and contents, of value, by

violence or by putting LATARSHA OWENS in fear, said taking accomplished with a

deadly weapon or by display of an article used or fashioned to lead LATARSHA

OWENS to reasonably believe the article to be a deadly weapon, in violation of T.C.A.
_39-13-402, against the peace and dignity of the State of Tennessee.

' William L. Gibbons
District Attorney General
30" Judicial District

Case 3:22-cv-00149 Document 1: Filed 03/01/22 Page 29 of 55 PagelD #: 29
 

 

 

 

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STATE OF TENNESSEE
Vv:

MICHAEL BAILEY

 

Indictment for
AGGRAVATED ROBBERY

T,C.A. 39-13-402 SCATS CODE - 21025

 

Witnesses:

D. HOPKINS, MPD, ROBBERY BUREAU Summon for the State

MPFAIR 0° 0 free eS MPD - ROBBERY BUREAU“ yy thy ED
F, WINSTON . MPD Eryn: ot € 2D)
T.GATES MPD
M.BOS WELL MPD
D.GUNTER MPD
CAROLYN GREENE

’ M, FAIR

Prosecutor

A True Bill

 

(2 PRO-TEM

 

| a
Date Indictment Returned: AL | BO) OF

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 30 of 55 PagelD #: 30
 

 

STATE OF TENNESSEE  ) CRIMINAL COURT OF SHELBY COUNTY

)
SHELBY COUNTY ) MARCH TERM, 2009

Count 1

THE GRAND JURORS of the State of Tennessee, duly selected, empaneled,
sworn and charged to inquire for the body of the county of Shelby, Tennessee, upon their
oath, present that:

MICHAEL BAILEY

L yhibt CDS

on October 17, 2008 in Shelby County, Tennessee, and before the finding of this
indictment, did unlawfully, intentionally or knowingly, take from the person of ~
CAROLYN GREENE certain property, to wit: a purse and contents, of value, by violence
or by putting CAROLYN GREENE in fear, said taking accomplished with a deadly
weapon or by display of an article used or fashioned to lead CAROLYN GREENE to
reasonably believe the article to be a deadly. weapon, in violation of T.C.A. 39-13-402,
against the peace and dignity of the State of Tennessee,

atm |}

William L, Gibbons
District Attorney General
30" Judicial District

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 31 of 55 PagelD #: 31
 

 

 

 

 

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A.G. FILE # AS0632D

 

OF ACR
No.

 

 

STATE OF TENNESSEE
V.

* MICHAEL BAILEY

 

Indictment for
AGGRAVATED ROBBERY

T.C.A, 39-13-402 SCATS CODE - 21025

 

 

Witnesses:

D. HOPKINS, MPD, ROBBERY BUREAU Summon for the State

“MFAIR © 0 5 MPD - ROBBERY BUREAU Any BN,
F. WINSTON MPD E x\ilow ( A)
T.GATES MPD
M.BOSWELL MPD
AUNDERWOOD MPD

TAUNDRIA NEWSON

M. FAIR
Prosecutor

A True Bill

 

J “ nf)
Date Indictment Returned: i} / 40 04

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 32 of 55 PagelD #: 32
 

STATE OF TENNESSEE _ ) CRIMINAL COURT OF SHELBY COUNTY

)
SHELBY COUNTY ) MARCH TERM, 2009

Count !

THE GRAND JURORS of the State of Tennessee, duly selected, empaneled,
sworn and charged to inquire for the body of the county of Shelby, Tennessee, upon their
oath, present that:

MICHAEL BAILEY

Sylabod CD)

on October 20, 2008 in Shelby County, Tennessee, and before the finding of this
indictment, did unlawfully, intentionally or knowingly, take from the person of
TAUNDRIA NEWSON certain property, to wit: a purse and contents and a baby bag, of
value, by violence or by putting TAUNDRIA NEWSON in fear, said taking
accomplished with a deadly weapon or by display of an article used or fashioned to lead
TAUNDRIA NEWSON to reasonably believe the article to be a deadly weapon, in
violation of T.C.A, 39-13-402, against the peace and dignity of the State of Tennessee.

poe LY

William L. Gibbons
District Attorney General
30" Judicial District

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 33 of 55 PagelD #: 33
 

 

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No.

 

 

STATE OF TENNESSEE
V.

MICHAEL BAILEY

 

Indictment for
AGGRAVATED ROBBERY

T.C.A, 39-13-402 SCATS CODE - 21025

 

 

Witnesses:

Summon for the State
D. HOPKINS, MPD, ROBBERY BUREAU

« M.RAIR ee MPD-ROBBERY-BUREAU wo 0 es hoa
F, WINSTON MPD
T.GATES : MPD Z Voie
M.BOSWELL MPD x a: lot C Dd)
R. THOMPSON MPD
SHERIKA TAYLOR
M. FAIR
Prosecutor
A True Bill

 

Féxeperson of ihe and Jury
Date Indictment Returned: He) | OF

eo,

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 34 of 55 PagelD #: 34
 

 

STATE OF TENNESSEE _ ) CRIMINAL COURT OF SHELBY COUNTY

)
SHELBY COUNTY ) MARCH TERM, 2009

Count |

THE GRAND JURORS of the State of Tennessee, duly selected, empancled,
sworn and charged to inquire for the body of the county of Shelby, ‘Tennessee, upon their
oath, present that:

MICHAEL BAILEY L ev ‘
Ne

on October 20, 2008 in Shelby County, Tennessee, and before the finding of this

indictment, did-unlawfully, intentionally or knowingly, take from the.person of...
SHERIKA TAYLOR certain property, to wit: a purse and contents, of value, by violence
or by putting SHERIKA TAYLOR in fear, said taking accomplished with a deadly
weapon or by display of an article used or fashioned to lead SHERIKA TAYLOR to
reasonably believe the article to be a deadly weapon, in violation of T.C.A. 39-13-402,
against the peace and dignity of the State of Tennessee.

William L. Gibbons
District Attorney General
~ 30"" Judicial District

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 35 of 55 PagelD #: 35
 

 

~

A.G. FILE # AS0632F

 

O9 OF RAN

No.

 

 

STATE OF TENNESSEE

LY.

MICHAEL BAILEY

 

Indictment for

AGGRAVATED ROBBERY
AGGRAVATED ROBBERY

T.C.A. 39-13-402
T.C.A. 39-13-402

SCATS CODE - 21025
SCATS CODE ~ 21025

 

D. HOPKINS, MPD, ROBBERY BUREAU
M.FAIR
F.WINSTON
T.GATES
M.BOSWELL
C.RINEHART
C.MALONE
CYNTHIA POWERS
BRYAN POWERS

M. FAIR
Prosecutor

A True Bill

Date Indictment Returned: lL ! Oo ko

Witnesses:

Summon for the State

MPD - ROBBERY BUREAU
MPD
_ MPD
MPD

_ MPD

MPD

© Ayo CD)

 

Case 3:22-cv-00149 Document1 Filed 03/01/22 Page 36 of 55 PagelD #: 36
 

 

 

STATE OF TENNESSEE _ ) CRIMINAL COURT OF SHELBY COUNTY

)
SHELBY COUNTY ) MARCH TERM, 2009

Count 1

THE GRAND JURORS of the State of Tennessee, duly selected, empaneled,
’ sworn and charged to inquire for the body of the county of Shelby, Tennessee, upon their
oath, present that:

MICHAEL BAILEY LE xWilot CP)

on November 20, 2008 in Shelby County, Tennessee, and before the finding of this
indictinent, did ‘urlawfully, intentionally or knowingly, take from the person of
CYNTHIA POWERS certain property, to wit: a purse and contents and rings, over the
value of $500, by violence or by putting CYNTHIA POWERS in fear, said taking
accomplished with a deadly weapon or by display of an article used or fashioned to lead
CYNTHIA POWERS to reasonably believe the article to be a deadly weapon, in
violation of T.C.A. 39-13-402, against the peace and dignity of the State of Tennessee.

poten Lf ——.

William L, Gibbons
District Attorney General
30" Judicial District

Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 37 of 55 PagelD #: 37
 

STATE OF TENNESSEE _ ) CRIMINAL COURT OF SHELBY COUNTY

)
SHELBY COUNTY ) MARCH TERM, 2009

Count 2

THE GRAND JURORS of the State of Tennessee, duly selected, empaneled,
sworn and charged to inquire for the body of the county of Shelby, Tennessee, upon their
oath, present that:

MICHAEL BAILEY

Li uns lo EC dD)

on November 20, 2008 in Shelby County, Tennessee, and before the finding of this
indictment, did unlawfully, intentionally or knowingly, take from the person of BRYAN «-
POWERS certain property, to wit: a wallet and contents and rings, over the value of

$500, by violence or by putting BRYAN POWERS in fear, said taking accomplished

with a deadly weapon or by display of an article used or fashioned to lead BRYAN
POWERS to reasonably believe the article to be a deadly weapon, in violation of T.C.A.
39-13-402, against the peace and dignity of the State of Tennessee.

wn | 4

William L. Gibbons
District Attorney General
30" Judicial District

Case 3:22-cv-00149 Document1 Filed 03/01/22 Page 38 of 55 PagelD #: 38
 

Gine cRIMINAL COURT OF TENKGSSEE
THIRTIETH JUDICIAL DISTRICT =: ° 3
ATMEMPHIS, TENNESSEE >! i

 

 

DIVISION X
STATE OF TENNESSEE sg SORA =S—PIr ar Ot
, KEVIN NO...09 9P88R,
MICHAEL BAILEY .. 8 wv CL?

 

Amended NOTICE OF IMPEACHMENT CONVICTIONS
PURSUANT TO RULE 609(a)
AND

NOTICE OF INTENT TO SEEK ENHANCED PUNISHMENT
PURSUANT TO TENNESSEE CODE ANNOTATED, SECTION 40-35-202

 

Comes now the State of Tennessee and hereby gives notice pursuant to Rule 609(a)}(3) of the
Tennessee Rules of Evidence, of certair: prior convictions the State intends to offer for impeachment
purposes should the defendant choose {0 testify in his own behalf and hereby gives notice that the
defendant may be sentenced as a Multiple Offender pursuant to Tennessee Code Annotated, Section 40-
35-106, a Persistent Offender pursuant !0 Tennessee Code Annotated, Section 40-35-107, or a Career
Offender pursuant to Tennessee Code \nnotated, Section 40-35-108, as applicable.

 

Date Nature of Conviction, class Court/ Docket # an
7/22/2005 ~ Aggravated Robbery, 30 yrs CC5 /03-00824 é vy bo \ ¢ 3)
7/22/2005 Aggravated Robbery, 30 yrs CC5 / 03-00824

7/22/2005 Aggravated Robbery, 30 yrs CCS / 03-00824 lt

7/22/2005 Aggrevated Robbery, 30 yrs CCS / 03-00824 E xlailnit C et )
9/21/2007 Aggravated Robbery, 15 yrs CC5 / 03-00824
2/23/2006 Aggravated Robbery, 12 yrs CC5 / 03-00825

12/8/1997 Aggravated Robbery, 12 yrs CC9/ 97-10812

12/8/1997 Aggravated Robbery, 12 yrs CC9/97-10813

12/8/1997 Aggiavated Robbery, 12 yrs CC9 / 97-10814

12/8/1997 Aggravated Robbery, 12 yrs CC9/97-10815

12/8/1997 Aggravated Robbery, 12 yrs CC9/ 97-10816

12/8/2997 Aggtavated Robbery, 12 yrs CC9 / 97-10817

12/8/1997 Aggravated Robbery, 12 yrs CC9 /97-10818

12/8/1997 Aggravated Robbery, 12 yrs CCQ / 97-10819

12/8/1997 Aggravated Robbery, 12 yrs CC9/ 97-10820

12/8/1997 Aggravated Robbery, 12 yrs CC9 /97-108214

12/8/1997 Theft of Property, 6 yrs CC9 / 97-10822

12/8/1997 Agravated Robbery, 12 yrs CC9 / 97-10823

12/8/1997 Ajgravated Robbery, 12 yrs CC9 / 97-10824

12/8/1997 Aggravated Robbery, 12 yrs CCQ / 97-10825

06/20/95 Theft of Property, 2 yrs CC 6/ 95-05713

05/24/93 Theft of Property, 1 yr CCS / 93-01463

11/6/91 ~“neft (M) GS9 / 91304162

12/10/90 ~heft (M) GS9 / 90326073

09/28/90 ‘Theft (M) GS7 / 90004065

Respectfully Submitted,

j
KTS

i Gtacy MéEadreeAssistant District Attorney General

CERTIFICATE OF SERVICE
| hereby certify that a true and exact copy of the foregoing response was sent / caused to be delivered to T.

Eskridge, counsel for defendant, o:n this 5” day of May, 2014.

 

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Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 39 of 55 PagelD #: 39
i

Gay tie crimivat couRT oF TENNES\W
THIRTIETH JUDICIAL DISTRICT AT MEMPHIS -
DIVISION X mee EY

4
ne Ye t,
tg hm et

=n

STATE OF TENNESSEE § 9ni3 AUG -9 PH {: 52

“8 : $ NO OPEB RLERK
MICHAEL BAILEY § ne _{\

 

NOTICE OF INTENT TO GEEK ENHANCED PUNISBIMENT-—7
NOTICE OF REPEAT \/IOLENT OFFENDER STATUS

Comes now the State of Tennessee, by and through the undersigned Assistant District Attorney General, and

submits that, pursuant to T.C.A. § 40-35-120;
A. The defendant Is a: ‘ )
Zoi lat € ©
Exiles FCE)

() Standard Offender (Range |)
() Multiple Offender (Rangie I!)
() Persistent Offender (Reinge Il!)
(X) Repeat Violent Offen: ‘er.

() Habitual Drug Offendei

Based on the following felony conviction s: -

Date of Conviction

 

Nature of Con viction Court

CC5 / 03-00824 |

7/22/2005 Aggravated Ro bbery, 30 yrs

7/22/2005 Aggravated Ro-bbery, 30 yrs CC5 / 03-00824
7122/2005 | Aggravated Rc bbery, 30 yrs CC5 / 03-00824
7/22/2005 Aggravated Roibbery, 30 yrs CC5 / 03-00824
9/21/2007 Aggravated Ro: bbery, 15 yrs CC5 / 03-00824
2/23/2006 Aggravated Ro bbery, 12 yrs CC5 / 03-00825
12/8/1997 Aggravated Re-bbery, 12 yrs CC9 / 97-10812
12/8/1997 Aggravated Ro'bbery, 12 yrs CC9/97-10813
12/8/1997 Aggravated Ro bbery, 12 yrs CC9/97-10814
12/8/1997 Aggravated Ro bbery, 12 yrs CC9/97-10815
12/8/1997 Aggravated Ro bbery, 12 yrs CC9 / 97-10816
12/8/2997 Aggravated Robbery, 12 yrs CC9 / 97-10817
12/8/1997 Aggravated Robbery, 12 yrs CCS /97-10812
12/8/1997 Aggravated Ro'bbery, 12 yrs CC8 / 97-10819
12/8/1997 Aggravated Re bbery, 12 yrs CC9 / 97-10820
12/8/1997 Aggravated Rrsbbery, 12 yrs CC9 / 97-10821
12/8/1997 Aggravated R: obbery, 12 yrs CC9 / 97-10823
12/8/1997 Aggravated R obbery, 12 yrs CC9 / 97-10824
12/8/1997 Aggravated R: obbery, 12 yrs CC9/97-10825

Respectfully submitted,

 

STACY McENDREE, Assistant District Attorney General

CERT IFICATE OF SERVIC .
| hereby certify that | have served a copy of this N. otlce to Seek Enhanced PunishmenUNotica of Enhancing Factors on TAYLOR

ESKRIDGE, Attorrney for Defendant, on this 9 day of AU! SUST, 2013.

SVU

STACY McENDREE, Assistant District Attorney General

 

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Case 3:22-cv-00149 Document1 Filed 03/01/22 Page 40 of 55 PagelD #: 40
 

 

- {N THE CRIMINAL/CIRCUIT COURT OF SHELBY COUNTY, TENNESSEE

Case Number: ( 9 Q ~O Z SS 7 Count # Zz Attomey for the State: A. = ie ML t te

 

 

 

Judicial District: 30" Judicial Division: 10 Counsel for Defendant: Kesh Ld LHe
State of Tennessee C1] Retained [[] Appointed [Public Defender
(L)-Counsel Waived (C1 Pro Se

Defendant: [Necloel Bafley Altas:
Date of Birth: 6-20 a 69 Sex: M Race: & SSN: 4O8 - 3¢- 9S 2 9

Indictment Filing Date: 44 - SO-O 9 TDOC # State Control 4
State ID # County Offender 1D # / 0 SS S/

 

 

 

JUDGMENT
original (]Amended = [_] Corrected
Comes the District Attorney General for the State and the defendant with counse! of record for entry of judgment.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

On the 25° day of Jaa > PO -___, the defendant:
ca Pled Guilty (71 Dismissed/Nolle Prosequi Indictment: Class (circle one) 1" A ci D E [e¥Felony [7] Misdemeanor
(J Nolo Contendere [7] Retired/Unapprehended Defendant Offense:.._.. 90 ' ALS Sault
1) Guilty Plea — Pursuant to 40-35-313 Amended Charge: _//
Offense Date: / | — 5 ~ 200 County: l
Is found: CI Guilty (A Not Guilty Conviction Offense: $9. 2 YY Assautt
(1 Jury Verdict (J Not Guilty by Reason of Insanity | Is this conyiction offense methamphetamine related? [J Yes [a-No
(7) Bench Trial TCA #: 7- /3.- flo Z Sentence Imposed Date; / ~ 25"~ /O
Conviction: Class (circle one) woA B © DE (Felony oO Misdemeanor
After considering the evidence, the entire record, & all factors in T.C.A. Title 40 Chapter 35, all of which are incorporated by reference herein, the. Court's findings & rulings are:
Sentence Reform Act of 1989 Concurrent with, cf | Pretrial Jail Credit Period(s):
Offender Status (Check One) Release Eligibility (Check One) 0 9 ~ O2 3/ , 8S 29 ; 9D ) 2 2 ey _
From [275 * tw £7 28-10
(1) Mitigated L) Mitigated 20% (] Multiple Rapist 100% q g > O% From /2°O" CO tof eae Te
(3 Standard LI Mitigated 30% (1) Child Rapist;100% | yi F
[] Multiple 1 Standard 30%  (L] Repeat Violent 100% Consecutive to: rom to
CL Peisistent (] Multiple 35% [J Child Predator 100% ecutive to: F
Career Pb Rearsistent 45% 2 - rom to
CT Repeat Violent (7 Career 60% [] 1* Degree Murder
: SS yrorencrou% (I) Drug Free Zone From to
[J Gang Related —_—_——
Sentenced To: IS” Ff tpoc C County Jail Gj Workhouse
Sentence Length: BO ears __. Months Days Hours Weekends [iLife DOL ife w/out Parole [JDeath
Mandatory Minimum Sentence Length: _ 39-17-417, 39-13-513, 39-13-514 in Drug Free Zone or 55-10-40] DUI 4" Offense
or 39-17-1324 Possession/Employment of Firearm ~ a , : me g&
Period of incarceration to be served prior to release on probation: Months Days Hours Weekends — fi
Minimum service’ prior to eligibility for work release, furlough, trusty status and rehabilitative programs: % (Misdemeanor Only) 7 reo
Alternative Sentence: [(] Probation (] Diversion (J Drug Court (1 Community Based Alternative - Specify cry meet
Years Months Days Effective: oe a LS
Court Ordered Fees and Fines: ost to be Paid by ~ Restitution: Victim Name | ew
$ Court Costs Defendant [J State Add ~
$ Fine Assessed ress > 7
$ Traumatic Brain Injury Fund (Drag Racing) i
$ Drug Testing Fund (TN Drug Control Act) Total Amount $ Per Month $ Y
3 CICF $ Sex Offender Tax OQ
. & ve
$ Other: (1 Unpaid Community Service: Hours Days Weeks Months
"The Defendant having been found guilty is rendered infamous and ordered to provide a biological specimen for the purpose of DNA analysis.
CO Pursuant to 39-13-52] the defendant is ordered to provide a biological specimen for the purpose of HIV testing.
Speciat Conditions (Oy Pursuant to 39- 13-524 the defendant is sentenced to community supervision for life following sentence oxpiration.
Jail Fees Woved eZ
v .

 

 

ap —_~2
( [Sota | | -25-10
l(__—— / WA lcc7-11

Defendant/Défendant’s Atlorney/Signature CR-3419 (Rev.1/08) RDA 1167

 
   
 

James C. Beasley, Jr.
Judge’s Name

Lf CoS

Attormey for State/Signature Yoptional)

 

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Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 41 of 55 PagelD #: 41

 

 

 

 
 

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IN THE CRIkgg!../CIRCUIT COURT-OF SHELBY COUN’: ¢, TENNESSEE

Case Number: -~O 8 Count # [ Attomey for the State: A. Spl DE Hz

 

 

Judicial District: 30" Judicial Division: 10 Counsel for Defendant: Ki ast l Wr

State of Tennessee (J Retained [-] Appointed [Public Defender
vs, /M ~ g ; [J Counsel Waived [] Pro Se
Defendant: Cel pel Qe ley Alias:

 

 

Date of Birth; B>ZO- KF __ Sex: LY Race: _& "ssn: _YOR- 3-95 2Y
Indictment Filing Date:__“{ -3O-O9 - - tpot# “__ State’Contiol # ”
State ID # County Offender ID#_/ 0 SSF /
_ JUDGMENT
Pf Original “ClAmended [1 Corrected
Comes the District Attorney General for the State and the defendant with: counsel of record for entry of judgment,

 

 

 

 

 

     

 

 

 

 

 

 

 

  
  

 

 

 

 

 

 

 

 

 

 

 

   

   

 

‘Onthe-- 257 day of Jan ty LOB... -; the defendant:
| Pica Guilty: Oo Dismissed/Nolle Prosequl "Indictment Class (cise one) 1" A oO CDE {Felony [_] Misdemeanor
| L-Nolo Contendere [J Retired/Unapprehended: Defendant | Offense: Aog Rob bry. - ..
[C1 Guilty Plea — Purstiaft to 40:35:313 © Amended: Charger Af we ;
Offense Date; _/ ~_ 290 County Shelby
{Is found: + + [)Guilty. [ NotGuilty . J -Conviction-Offense: :
IC]. Jury Verdict (1 Not Guilty by Reason of Insanity - |. Is:this con fiction on offeise rhethamphetaming related? ( Yes [B-No
O Bench Trial TCA #: 02, Sentence Imposed Date: /- 25-7 O
To, bat. wee Conviction: Class (ecle one) 1" A @ CDE [4 Fetony [FD Misdemeanor
After considering the evidence, the entire record, & all factors i in T. C. A. Title 40° Chapter. 35, alr of ‘which are ‘incorpatated by reference herein, ihe Court’s findings & rulings are:
: ‘Sentence. Reform Act of1989° am O40: with: Pretrial Jail Credit Period(s):
Offender Status (Check One) Release Eligibility (Check One) q- 02 8/ , & 7, 90, 9] Tel a7 [= 26-10
(7 Mitigated © CO Mitigated 20% oO Multiple Rapist 100% “9 9 3 From to Jeet
‘) Standard | El Mitigated'30%-  F).Child'Rapist:-100% * F
{CO Maltiple ‘L)'Standard'30% © EyRepeat Violent:100% Consecutive to rom _______to
Co reristent : C] Muttiple 35% QO Child Predator 100% ‘ F
yo (71De entd5% . ‘rom to
tt Violent S O = Degreé Murder ~
“ C] Drug Free Zone From to
a rT} Gang Related: kL a aa
Pf toc oO County rail, . a Workhouse
itesice Leigth: BO_Years’ — Mo ths _Days ‘ “Flours, - Weekends DLife (Life w/out Parole ()Death
, tandatory Minimum Sentence Length: ____) 30-176417, “513, 39: 13; 514i in | Drug Free Zone or | 55-10-40) DUI 4° Offense
“or 39-1 71924 Possession/Eniploymenit of Firearm" , , wo .
Period of incarceration to be served-prior to release.on probation: ___Months Days Hours _____ Weekends

 

: Minimum service prior to eligibility for work release, furlough, trusty status and rehabilitative programs: % (Misdemeanor Only)
Alternative Sentence. {(] Probation [ Diversion (J Dmug Court E) Community Based Altemative - Specify

 

 

 

 

 

 

 

 

 

Years Months Days Effective: _
Court Ordered Fees and Fires: Cost to bePald by) W ireatitution: Victizn Nane
S. Court Costs _ A PVefendant [State : i Addréss~ -
L$ Fine Assessed s
S$... Traumatic Brain. Injury Fund (Drag Racing) fe . >
1$ Drug Testing Fund (TN Drug Control Act) Total Amount § Per Month $
$ CICF $ Sex Offender Tax oo
§ Other, = O Unpaid Community Service: Hours Days Weeks Months

 

 

 

cs Defendant: -havirig-been found guilty is rendered infamous and.ordered to, provide a biological specimen for the purpose of DNA analysis.
Mo to 39-13-52] the defendant is ordered to provide a biological specimen for the purpose of HIV testing.
' Special Conditions [) Pursuant to 39-13-524 the defendant is sentenced to community supervision for life following sentence expiration.

Tai | Fees Loovveo} 2 OB. 2 4
| C LEO KY |- 257g

‘ lanes C..Beasley tr r. , 4S
: udg 5 / sat
ies eNotes
Defendant/Defendant s Atlomey/Signature CR-3419 (Rev.1/08) RDA 1167

Attomey for State/Signature (optional)...

 

 

 

 

   
 
  

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Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 42 of 55 PagelD #: 42
(Page 2

of 5)

Eolnilot< F-1S

IN THE CRIMINas/CIRCUIT COURT OF SHELBY COUNTY, TENNESSEE

 

 

 

 

 

Case Number: O Q ~O 2¢ Ca Count # i Attorney for the State: A pe t- te

Judicial District: agh Judicial Division: 10 Counsel for Defendant: Rt wh Ld Wie.

State of Tennessee [1] Retained [) Appointed [Public Defender
vs. (I ~. g ; [] Counsel Waived DO Pro Se
Defendant: Celpel Qe ley Alias:

Date of Birth: & -~2Z0- 6 gG Sex: M Race; SSN: YOR x 3e- 9S 2 g

 

 

 

Indictment Filing Date: LY ~30-O } TDOC # State Control #
‘ State ID # County Offender ID # /O SSF [ :
JUDGMENT

original (ClAmended [Corrected
Comes the District Attorney General for the State and the defendant with counsel of record for entry of judgment,
‘On the 25° day of Tan , dA , the defendant:

Pied Guilty — ] Dismisséd/Nolle Prosequi Indictment: Class (circle one) 1" A (B) CD E [AFetony [] Misdemeanor

(2) Nolo Contendere: ["] Retired/Unapprehended Defendant | Offense: Q» Robber y
Amended Charge: f

(1 Guilty Plea — Pursuant to 40-35-313
Offense Date: | O - 1/7 ~ 2008 County: ~SAe/f y

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Is found: (J Guilty [EJ Not Guilty: ‘Conviction Offense:: AS4 Robbery
1] Jury Verdict [] Not Guilty by Reason of Insanity | Is this conviction offense methamphetamine related? 0 Yes [&4No
[] Bench Trial TCA #: -/3-Yo2 Sentence Imposed Date:  /+ 25-7 O
toe . Conviction: Class (circle one) BoA (® C DE ey Felony [_] Misdemeanor
After considering the evidence, the entire record, & all factors in T.C.A, Title 40 Chapter 35, all‘of which are incorporated by reference herein, the Court's findings & rulings are:
Sentence Reform Act of 1989 Concurrent with: Pretrial Jail Credit Period(s):
Offender Status (Check One) Release Eligibility (Check One) oO 9- O2 8/, 8 399 ) 9 | - /
. “25-10
C] Mitigated C) Mitigated 20% (J Multiple Rapist 100% q ae) Fromae rein tof 65 le
Cj Standard () Mitigated 30% — ((] Child Rapist 100% + yi 3 F
‘C] Multiple [2 Standard 30%  [] Repeat Violent 100% Consecutive to: rom to
istent C1 Multiple 35% — [}-Child Predator 100% ive fos
Gq Career. Lob Pacsistent 45% Ai Murd From to
epeat Violent 1" Degree Murder
ve = -vrorenct00% () Drug Free Zone From ti
. mS C] Gang Related ; OL
Sentenced To: Pf toc 1 County Jail CJ Workhouse
Sentence Length: SO Yeats “Months ____Days Hours Weekends DLife (Life w/out Parole [Death
Mandatory Minimum Sentence Length: 3917-417, 39-13-513, 39-13-514 in Drug Free Zone or 55-10-40! DUI 4" Offense >
or” ‘39-17-1324 Possession/Eniployment of Firearm : , , s
Period of incarceration to be served prior to release on probation: Months Days Hours Weekends 7
‘Minimum service prior to eligibility for work release, furlough, trusty status and rehabilitative programs: % (Misdemeanor Only) ry !
Alternative Sentence: (] Probation [] Diversion [[] Drug Court [] Community Based Altemative - Specify oo ~
Oe
Years Months Days Effective: es no
Court Ordered Fees and Fines: Bost to be Paid by Restitution: Victim Name —
$ Court Costs jAMDefendant [) State =
\ Address
$ Fine Assessed
$ Traumatic Brain Injury Fund (Drag Racing) \o
$ Drug Testing Fund (TN Drug Control Act) Total Amount $ Per Month $_ Ga
$ CICF $ Sex Offender Tax
8 Other, oO Unpaid Community Service: Hours Days Weeks Months

 

 

 

 

 

The Defendant-haying. been found guilty is rendered infamous and ordered to provide a biological specimen for the purpose of DNA analysis.
C7 Pursuant to 39-13-52] the defendant is ordered to provide a biological specimen for the purpose of HIV testing.

Special Conditions CJ Pursuant to 39- 13-524 the defendant is sentenced to cornmunity supervision for life following sentence expiration.

Saz| Fees ISAS VK ~ >> Vl ZL

ee see Rae:

 

 

 

James C. Beasley, Jr. f 4
Judge’s/Name “ t Judge’s Signature i Date of En

. S, f Entry of Judgment
(he ' Fe—— LL Nc 7-13

Attorney for State/Signature (optional)... ex Defendant/Defendant’s Attorney/Signature CR-3419 (Rev.1/08) RDA 1167

 

 

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Case 3:22-cv-00149 Document1 Filed 03/01/22 Page 43 of 55 PagelD #: 43

 
 

 Exhet( FQ) |

 

CC.

 

 

 

 

 

 

 

 

 

 

 

IN THE CRIMINAL/CIRCUIT G ‘RT FOR SHELBY ( COUNTY, TENNESSEE

“ eid
Case Number; 09 02887 Count # 1 Counsel for the State: Stacy McEndree > 5
Judicial District: 30th Judicial Division: 10 Counsel for the Defendant: Taylor Eskridge a D
State of Tennessee (] Retained [] Pub Def Appt Bij Private Atty Appt {Y) S
VS. [-] Counsel Waived [] Pro Se 5 5
Defendant; MICHEAL BAILEY Alias: Date of Birth: 06/20/1969 Sex:
Race: B SSN: XXX-XXK-9529 Driver License #: Issuing State: . N
State ID #: County Offender ID # (if applicable): 900103531 TOMIS/TDOC #: “ os
Relationship to Victim: Victim’s Age: “
State Control #: 790008142067 Arrest Date: Indictment Filing Date: 04/30/2009

 

JUDGMENT [orginal [J Amended  [[] Corrected

Comes the District Attorney General for the State and the defendant with counsel of record for entry of judgment.

Onthe TAH 3 day of_ Net Octo ber » 20 2014 , the defendant:

chard Des

pao

:
Y

 

 

 

 

PA Pied Guilty C) Dismissed/Nolle Prosequi Indictment: Class (circleone) 11 A KR C D E Hi Felony (J Misdemeanor

CO Pled Nolo Contendere Indicted Offense Name AND TCA §:_39-13-402 AGGRAVATED ROBBERY |

1 Pled Guilty — Certified Question Findings Incorporated by Amended Offense Name AND TCA §:

Reference Offense Date: 11/5-10/2014 a County of Offense: SHELBY __
Conviction Offense Name AND TCA §: 39-14-402 AGG ROBBERY

Is found: Mcuilty CO Not‘Guilty Conviction: Class (cireleone) 1° A BR C D E Felony (] Misdemeanor

C Jury Verdict 1 Not Guilty by Reason of Insanity Is this conviction offense methamphetamine related? [] Yes No

C) Bench Trial Sentence Imposed Date:

 

 

 

 

 

After considering the evidence, the entire record, and in the case of sentencing, all factors in Tennessee Code Annotated Title 40, Chapter 35, all of which are incorporated by
reference herein, it is ORDERED and ADJUDGED that the conviction described above is imposed hereby and that a sentence and:costs are imposed as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Offender Status Release Eligibility Concurrent with: Pretrial Jail Credit Period(s):
(Check One) (Check One)
0 Mitigated Z Mitigated 20% D Agg Rob wPrior 100% . | 1) 1" Degree Murder O q-b 2EEq From [ Rb 3-0 to.f r 25 / oO
CD Standard Cl Mitigated 30% CJ Multiple Rapist 100% —_ | [1 Drug Free Zone po es may
C Multiple C) Standard 30% CO Child Rapist 100% Cl Gang Related so ‘lprom’ to :
(2) Persistent Di Multiple 35% C1 Child Predator 100% Consecutive to: rear
Career O Persistent 45% CD Agg Rapist 100% F. :
Ml Repeat Violent (Career 60% () Mult 39-17-1324 100% Tom
TI Age Rob 85% (1 Att 1 Degree Murder w/SBI 85% ee
C1) Violent 100% 0 Agg Child Neglect/Endangerment 70% From | pee
fg Repeat Viol 100% [1] Agg Assault w/Death 75% oe
Sentenced To: i TDoc [1 County Jail (J Workhouse ee
Sentence Length: Years Months Days Hours CLife MMlLife w/out Parole [Death
Mandatory Minimum Sentence Length: 39-17-417, 39-13-513, 39-13-514, or 39-17-432 in Prohibited Zone or 55-10-401 DUI 4" Offense
or 39-17-1324 Possession/Employment of Firearm or 40-39-208, -211 Violation of Sex Offender Registry
Period of incarceration to be served prior to release on probation or Community Corrections: _. Months Days Hours
Minimum service prior to eligibility for work release, furlough, trusty status and rehabilitative programs: % (Misdemeanor Only)
Alternative Sentence: — []Sup Prob [JUnsup Prob L]Comm Corr (CHECK ONE BOX) ___Years_ Months Days _ Effective:
WAS DRUG COURT ORDERED AS A CONDITION OF THE ALTERNATIVE SENTENCE? {ves [] No
Court Ordered Fees and Fines: Costs to be Paid by Restitution: Victim Name
$ Court Costs Defendant State
; Address
$ Fine Assessed
$ Traumatic Brain Injury Fund (68-55-301 et seq.)
$ Drug Testing Fund (TN Drug Control Act) TotalAmount$____ = Per Month $
$ CICF “$i Sex Offender Tax J. we De _ : Y aud
$ Other: a ‘CD Unpaid Community Service: Hours Days Weeks Months

 

 

 

 

 

MM The Defendant having been found guilty is rendered infamous and ordered to provide a biological specimen for the purpose of DNA analysis.
(C] Pursuant to 39-13-521 the defendant is ordered to provide a biological specimen for the purpose of HIV testing.
(_] Pursuant to 39-13-524 the defendant is sentenced to community supervision for life following sentence expiration.
Special Conditions C] Pursuant to Title 68, Chapter 1},Part 10, the clerk shall forward this judgment to the Department of Health,

“Deft Resnteyee_16-37q-

 

 

 

 

 

James C. Beasley, Jr.

Judge’s Nex / ~ Judge’s Signature
XD Sl

Counsel for State¥Signature (optiogial) Defendant/De endapt 5 CounseXSignature (optional)
I clerk, heye ify thi beforemtny Uy thE denrl, OcHy nH &s mide vnagyadlhepadyor parties

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CR-3419 (Rev, 7/1/13)

  
 
     

 
 
You are hereby commanded to take the bef the defendant, herein named, it to.be found ( “sur County Jail of Shelby County,
__ ‘Tennessee, thereafter to execute the Judgy ._..c of the Court according to the sentence impost. _ s shown on the attached Judgment, or until

“said Gefendant be otherwise discharged according to the law
rhode 4 t

: Be it further noted that the defendant has currently pending'in the Criminal Courts of Shelby County, Tennessee, the following indictments
" being.still subject to the orders of this Court. :

INDICTMENT COURT DIVISION GEFENSE

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WITNESS, KEVIN P. KEY, Clerk of the Criminal Court ot Shelby County, Tennessee, at office in Memphis, Tennessee.

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State of Tennessee
COUNTY OF SHELBY

a8

I, KEVIN P. KEY, Clerk of the Criminal Court of Shelby a unty, Tennessee, do hereby certify that the above said and attached Judgment
is a true and perfect transcript of Judgment and currently pending indictments in the matter of the State of Tennessee vs. the herein named

defendant and indictments as they appear in my office.

IN TEST WHTERECR, Wave hereunto set my hi ng find affixed the seal of this Court, at office, in the City of Memphis, Tennessee,
this the. day of ‘ , 20 i 5
a,

RECORD & HBR ATN NUMBER

KEVIN P, KEY, CLERK
}
Mpa

DOCKET NUMBERS:

 

 

 

 

 

 

 

ate over/under conviction (s) to Shelby County Jail/S.C.C.C/Penitentiary for a period of

 

 

 

 

ORDERS ATTACHED TO JUDGMENT:

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Case 3:22-cv-00149 Document 1 ryse 03/01/22 Page 45 of 55 PagelD #: 45
 

 

 

 

 

 

 

 

 

 

 

| ExhiatCF-a) , pa
IN THE CRIMINAL/CIRCUIT G ; RT FOR - SHELBY ( COUNTY, TENNESSEE |. i &
fob. . 4
Case Number: 09 02887 Count # 2 Counsel for the State:
Judicial District: 30th Judicial Division: 10 Counsel for the Defendant:,
State of Tennessee CL] Retained (] Pub Def Appt L] Private Atty Appt
Vs. [-] Counsel Waived [] Pro Se
Defendant; MICHEAL BAILEY Alias: Date of Birth: 06/20/1969 __ Sex:
Race: B SSN: XXX-XX-9529 Driver License #: Issuing State:
State ID #: County Offender ID # (if applicable): 000103531 TOMIS/TDOC #:
Relationship to Victim: Victim’s Age:
State Control #: 790008142067 Arrest Date: Indictment Filing Date: 04/30/2009
JUDGMENT [Orginal [J Amended [£1] Corrected

 

Comes the District Attorney General for the State and the defendant with counsel of record for entry of judgment.
Onthe ‘Muh day of May Oct ,20 2014 , the defendant:

(] Dismissed/Nolle Prosequi

 

Indictment; Class (circle one) 1" A B ® D E MH Felony (1) Misdemeanor
Indicted Offense Name AND TCA §:_39-13-102 AGGRAVATED ASSAULT
Amended Offense Name AND TCA §:

BB Pled Guilty
(J Pled Nolo Contendere
[1] Pled Guilty - Certified Question Findings Incorporated by

 

County of Offense: SHELBY

 

 

 

 

Reference Offense: Date: 1/5-10/2014 pes an
: Conviction Offense Name AND TCA §: 39-13-102_ AGG ASSAULT

Is found: O Guilty CI Not Guilty Conviction: Class (circle one) ™“ AB &DE a Felony [-] Misdemeanor

(J Jury Verdict 7] Not Guilty by Reason of Insanity Is this conviction offense methamphetamine related? [] Yes No

( Bench Trial Sentence Imposed Date:

 

After considering the evidence, the entire record, and inthe case of sentencing, all factors in Tennessee Code Annotated Title 40, Chapter 35, all of which are incorporated by
reference herein, it is ORDERED and ADJUDGED that the conviction described above is imposed hereby and that a sentence and-costs are imposed as follows:

 

 

 

  

 

 

Offender Status Release Eligibility Concurrent wi Pretrial Jail Credit Period(s):
(Check One) (Check One)
LJ Mitigated CT Mitigated 20% C) Agg Rob.w/Prior 100% . | [1° Degree Murder Fromén $-0 B to [As_/ Oo
C] Standard 0D Mitigated 30% C) Multiple Rapist 100% | LI Drug Free Zone L. os ™
CO] Multiple O Standard 30% CO chitd Rapist 100% C1] Gang Related RFT oro to
(7) Persistent O Multipte 35% C1 Child Predator 100% amb Pe nes
Career O Persistent 45% C) Agg Rapist 100% :
( Repeat Violent Hl Career 60% CO Mult 39-17-1324 100% From to
OD Agg Rob 85% C Att 1 Degree Murder w/SBI 85% we aps
C Violent 100% (C) Agg Child Neglect/Endangerment 70% From to
C1 Repeat Viol 100% [] Agg Assault w/Death 75% . po

 

 

 

 

M@ Tpoc [) County Jail ( Workhouse

lf ) Years Months Days Hours

Mandatory Minimum Sentence Length: 39-17-417, 39-13-513, 39-13-514, or 39-17-432 in Prohibited Zone or
or 39-17-1324 Possession/Employment of Firearm or 40-39-208, -211 Violation of Sex Offender Registry
Period of incarceration to be served prior to release on probation or Community Corrections: Months Days Hours
Minimum service prior to eligibility for work release, furlough, trusty status and rehabilitative programs: % (Misdemeanor Only)
Alternative Sentence: [Sup Prob [JUnsup Prob [JComm Corr (CHECK ONE BOX) ___ Years Months _ Days_ Effective:

WAS DRUG COURT ORDERED AS A CONDITION OF THE ALTERNATIVE SENTENCE? [1] Yes [1] No

Sentenced To: es, :
Civite ClLife w/out Parole [Death
55-10-401 DUI 4” Offense

Sentence Length:

 

 

 

 

 

 

 

 

 

Court Ordered Fees and Fines: Costs to be Paid by Restitution: Victim Name
$ Court Costs Defendant State
: Address
$ Fine Assessed
$ Traumatic Brain Injury Fund (68-55-301 et seq.)
$ Drug Testing Fund (TN Drug Control Act) Total Amount $ Per Month $
$ CICF $ “Sex Offender Tax Sw ke, es
$ Other: C7 unpaid Community Service: Hours... __ Days Weeks- Months

 

MB The Defendant having been found guilty is rendered infamous and ordered to provide a biological specimen for the purpose of DNA analysis.
C1 Pursuant to 39-13-521 the defendant is ordered to provide a biological specimen for the purpose of HIV testing,
(] Pursuant to 39-13-524 the defendant is sentenced to community supervision for life following sentence expiration.
10, the clerk shall forward this judgment to the Department of Health.

Special Conditions [J Pursuant to Title 68, Chapter 11, Payt’]

 

 

 

 

James C. Beasley, Jr.

 

 

   
   

   
 

 

 

Judge’s Name / | Judge’s Signatyfe 7 Date of Enpfy of Judgme
Counsel for State/Signature (optiondl) Defendant/ Refend{nt’s Om Signature (optional) hey
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who did not provide a signature above.
CR-3419 (Rev. 7/1/13)
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‘ 1.7 Boing s still subject to the orders of this Court.

  

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. 4 Yoh are hereby commanded to take the b¢ of the defendant, herein named, it to be found ‘our County Jail of Shelby County,

_ Tennessee, thereafter to execute the Judgr: at of the Court according to the sentence impost. 5 shown on the attached Judgment, or until
* sti defendant be otherwise discharged accérding to the law.
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* Belt Farther noted that the defendant has currently pening in the Criminal Courts of Shelby County, Tennessee, the following indictments

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WITNESS, KEVIN P. KEY, Clerk of the Criminal Court oF Shelby County, Tennessee, at office in Memphis, Tennessee,

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State of Tennessee
COUNTY OF SHELBY

#8

I, KEVIN P. KRY, Clerk of the Criminal Court of Shelby tiounty, Tennessee, do hereby certify that the above said and attached Judgment

is a true and perfect transcript of Judgment and currently pending indictments i in the matter of the State of Tennessee vs. the herein named

defendant and indictmerits as they appear in my office. ‘a

IN TESTI y ve hereunto set my “nt affixed the seal of this Court, at office, in the City of Memphis, Tennessee,
this the dy of of

 

 

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KEVIN, an

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DOCKET NUMBERS:

 

 

 

are over/under conviction (s) to Shelby County Jail/S.C.C.C/Penitentiary for a period of

 

 

 

ORDERS ATTACHED TO JUDGMENT:

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Case 3:22-cv-00149 Document 1 SO 03/01/22 Page 47 of 55 PagelD #: 47 —
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- OC yhulat CF ).

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IN THE CRIMIN.../CIRCUIT COURTOF SHELBY coun: iy TENNESSEE

Case Number: O G~O I 8 8 Count # l Attorney for the State: A. Spe LAL tk

 

 

 

 

Judicial District: 30" Judicial Division: 10 Counsel for Defendant: K wh LILAE
State of Tennessee (] Retained [F] Appointed [Public Defender
(-] Counsel Waived [-] Pro Se

Defendant [V {t Loe! & as | Sy. : Alias:
Date of Birth: _6-20-¢ 7 Sex: LM Race: & ___ SSN: 108 - So- 7S 2 g
Indictment Filing Date: Ye SO-OF — > TOGH — State Control # =
State ID # __County Offender ID#_/0 SOP /

_ JUDGMENT

Original o ‘Amended. [7] Corrected
Comes the District Attorney General for the Siate and ‘the defendant with counsel of record for entry of judgment,
‘On the o- = of. Je $ : BO... , the. defendant:

 

   

 

 

 

     
  

 

 
  
  
 

 

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‘ Sentence Imposed Date: ‘Te Zs-/ O
1 A CDE aZ Felony CE Misdemeanor :

 

 

 

 

which ‘are’ 'Meorporatet by’! ference herein, the Court’ s. findings & rulings are:

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Months “Days. Hours ‘ «Weekends ,
tlough; tiusly status and tehabilitative programs: % (Misdemeanor Only)
cy ‘Diug:Court FE) Community Based Alternative - Specify

Effective:

    

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r $i __ Traumatic: Biain. Injury, Fund, (rag Racing) ape Lo ee rns ———_—-
| $_____. Drug Testing Fund (TN Drag Control:Act) _ -  FotalAmount$ ss SSSséPeor Month $
f$ie ICR. Ge _ Sex: Offender Tax be . wee :
$ Othe: Sa SITE Couns Commit Service: Hours , Days __ Weeks Months

 

  
 

Pay Detendati havi en: found guilty’ is rendered ji infamous: and. ordered to provide a biological. specimen for ihe purpose of DNA analysis,
, . Pursuant: to. 39-43 the: ‘defendant i is ofderéd to provide’ 8 biological specimen for the purpose of HIV. testing.
: Special Conditions vee Ey Puisuaat to 3913524 the defendant i is sentenced to. carnmunity Supervision for life following sentence expiration,

 

 

 

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OR-3419. (Rev.1/08) RDA 1167

 

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Case. 3: 22- -CV- -00149 Document 1 “Oya 03/01/22 Page 48 of 55 5 PagelD #: 48

 

 
You are hereby commanded to. take the-body of the defendant, hereiti:riamed, it to. be found in.your County Jail of Shelby County,
Tennessee, thereafter to ‘execute. the’ ‘Judgment of the Court scvording to the séntence imposed as shown on thé attached. id Tudgment, or until
said: defendant: be: otherwise discharged according to the. lays: ped ctans oe

 
  

Be it further noted that the defendant has currently pending in the e Criminal Counts of Shelby County, | <stmens 7

being still subject to! ie orders of this Court.

 

 

INDICTMENT COURT DIVISION cman
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WITNESS, WILLIAMR. KEY, Clerl dtinessee, at office in Memphis, Tennessee.

‘State of Tennessee.
COUNTY:OF SHELBY

 

helby County, Tennessee, do hereby certify that the above said and attached

and: currently pending’ in ictments i in the maitér’ ‘of the! State’ of” Tennessee vs. the
shefeit named’ defendant and indictments as s they appear in my office. _ Caney

‘I, WILLIAM R,RE

 

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IN TESTIMONY WHEREOF “have- hereunto set my, a hapa aff xed the Seal. of this ‘Court, at office, in the. City. of: Memphis, Tennessee,
ithis the GAD day ot VAY ed 20 [OO |

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 3:22-cv-00149 Document 1 Filed 03/01/22 Rage! 49 of 55 PagelD #49
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IN THE CRIMINAL/CIRCUIT | IRT FOR SHELBY ( ee COUNTY, TENNESSE] G
Case Number, _09 02889 Count # I Counsel for the State: Stacy McEndree
Judicial District: 30th Judicial Division: 10 Counsel for the Defendant: -Taylor Eskridge
State of Tennessee L_] Retained [] Pub Def Appt [i Private Atty Appt N
Vs. [J Counsel Waived [] Pro Se N & NY
Defendant: MICHAEL BAILEY Alias: Date of Birth: 06/20/1969 Sex: =M a
Race: B SSN: XXX-XX-9529 Driver License #: Issuing State: | Fag
State ID #: County Offender ID # (if applicable): 000103531 TOMIS/TDOC #: co
Relationship to Victim: Victim’s Age:
State Control #: 790009614699 Arrest Date: Indictment Filing Date: 04/30/2009 res
JUDGMENT EB Orginal [Amended [1] Corrected ed mQ

Comes the District Attorney General for the State and the defendant with counsel of record for entry of judgment.

Onthe_ Tb 3 dayor Mey October , 20_2014 _ the defendant:

 

 

 

 

HE Pled Guilty 2 Dismissed/Nolle Prosequi Indictment: Class (circleone) 1° A &® C DE WB Felony [1 Misdemeanor

C Pled Nolo Contendere Indicted Offense Name AND TCA §: 39-13-402 AGGRAVATED ROBBERY

C] Pled Guilty — Certified Question Findings Incorporated by Amended Offense Name AND TCA §:

Reference Offense.Date: .10/15/2008.” County.of Offense: SHELBY oe
Conviction Offense Name AND TCA §: 39-]3-402 AGG ROBB

Is found: CO Guilty 1) Not Guitty ; Conviction: Class (circle one) 1° A R C DE Wi Felony.C] Misdemeanor

C] Jury Verdict =] Not Guilty by Reason of Insanity Is this conviction offense methamphetamine related? [] Yes No

(J Bench Trial Sentence Imposed Date:

 

 

 

 

After considering the evidence, the entire record, and in the case of sentencing, all factors in Tennessee Code Annotated Title 40, Chapter 35, all of which are incorporated by
reference herein, it is ORDERED.and ADJUDGED that the conviction described above is imposed hereby and that a sentence and costs are imposed as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Offender Status Release Eligibility Concurrent with: Pretrial Jail Credit Perlod(s):
(Check One) (Check One) &
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C Mitigated 0 Mitigated 20% C1) Agg Rob w/Prior 100% . | (1) 1" Depree Murder From 4 -( 3-09 to { . 25-/ oO 3
(1 Standard i Mitigated 30% C] Multipie Rapist 100% C) Drug Free Zone ms :
[) Multiple C1 Standard 30% C) Child Rapist 100% T Gang Related From? to
C1] Persistent CO Multiple 35% C1 Child Predator 100% Consecutive to: TT
CI Career C) Persistent 45% CD Agg Rapist 100% F t
MM Repeat Violent 0D) Career 60% C] Mult 39-17-1324 100% tom ——— 0
Cl Agg Rob 85% CO Att 1* Degree Murder w/SBI 85% 0 "q ODEN
C] Violent 100% (2 Agg Child Negtect/Endangerment 70% From to
fm Repeat Viol 100% 1) Age Assault w/Death 75% ,
Sentenced To: @@ TDoc C) County Jail [7] Workhouse oo
Sentence Length: Years Months Days Hours OLife MMILife w/out Parole (1Death
Mandatory Minimum Sentence Length: 39-17-417, 39-13-513, 39-13-514, or 39-17-432 in Prohibited Zone or 55-10-401 DUI 4" Offense
or 39-17-1324 Possession/Employment of Firearm or 40-39-208, -211 Violation of Sex Offender Registry
Period of incarceration to be served prior to release on probation or Community Corrections: Months Days Hours
Minimum service prior to eligibility for work release, furlough, trusty status and rehabilitative programs: % (Misdemeanor Only)
Alternative Sentence: © ()Sup Prob LJUnsup Prob C]Comm Corr (CHECK ONEBOX) __ Years__ Months Days Effective:
WAS DRUG COURT ORDERED AS A CONDITION OF THE ALTERNATIVE SENTENCE? [7] Yes [] No
. Ordered Fees and Fines; ree be Paid by : ff Restitution: Vietim Name -
Court Costs Defendant State ‘
. Address
$ Fine Assessed
$ Traumatic Brain Injury Fund (68-55-301 et seq.)
$ Drug Testing Fund (TN Drug Control Act) Total Amount $e Per Month $
$ CICF .  $ Sex Offender Tax . a be sy . : pe ON
$ Other: " : , (1 Unpaid Community Service: Hours Days Weeks Months

 

 

MB The Defendant having been found guilty is rendered infamous and ordered to provide a biological specimen for the purpose of DNA analysis.
C2] Pursuant to 39-13-521 the defendant is ordered to provide a biological specimen for the purpose of HIV testing.
C] Pursuant to 39-13-524 the defendant is sentenced to community supervision for life following sentence expiration.
Special Conditions (7) Pursuant to Title 68, Chapter 11, Part 10, the clerk shall forward this judgment to the Department of Health.

‘Deks Resentence 10-37
James C. Beasley, Jr. SC MW Y 2 . /

Judge’s Name { Judge’s Signatére ate of Entty of fudgmeftt

Counsel for State/Signature (optiongl) / Defendant Defengent 4 ounsél/Signature (optional)
who Gd not provide a SGARDC ee COOLS DORAL EE CSF 2 HAUL ATAU parites

CR-3419 (Rev. 7/1/13) | RDA 1167

 

 

 

 

 

 

 

 

 
 

: “Yeu are hereby commanded to take the b¢ of the defendant, herein named, it to be found?” “our County Jail of Shelby County,
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; Bett further noted that the defendant has currently pending/in the Criminal Courts of Shelby County, Tennessee, the following indictments
3 bext Still subject to the orders of this Court. .

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WITNESS, KEVIN P. KEY, Clerk of the Criminal Court a Shelby County, Tennessee, at office in Memphis, Tennessee.

State of Tennessee “
COUNTY OF SHELBY med

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I, KEVIN P. KEY, Clerk of the Criminal Court of Shelby bunty, Tennessee, do hereby certify that the above said and attached Judgment
is a true and perfect transcript of Judgment and currently pending indictments in the matter of the State of Tennessee vs. the herein named
defendant and indictments as they appear in my office. “£4

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IN TESTIMONY WHEREQF; I have hereunto set my ha d affixed the seal of this Court, at office, in the City of Memphis, Tennessee,
this the day of ’ 520 be : a

RECORD & Tossa NUMPER .

KEVIN P. KEY, CLERK
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BY: (! f han

DOCKET NUMBERS:

 

 

 

 

 

 

 

are over/under conviction (s) to Shelby County Jail/S.C.C.C/Penitenitiary for a period of

 

 

 

 

 

ORDERS ATTACHED TO JUDGMENT:

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Case 3:22-cv-00149 Document 1 kbed 03/01/22 Page 51 of 55 PagelD #: 51
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IN THE CRIMINAL/CIRCUIT€ JRTFOR SHELBY _{ || COUNTY, TENNESSEE é Q
®
Case Number: 09 02890 Count # 1 Counsel for the State: _Stacy McEndree
Judicial District: 30th Judicial Division: 10 Counsel for the Defendant:_ Taylor Eskridge
State of Tennessee [Retained [1 Pub Def Appt lif Private Atty Appt
VS. (] Counsel Waived [7] Pro Se BA
Defendant, MICHAEL BAILEY Alias: Date of Birth: 06/20/1969 Sex: 8
Race: B SSN: XXX-XX-9529 Driver License #: Issuing State:
State ID #: County Offender ID # (if applicable): 000103531 TOMIS/TDOC 4:
Relationship to Victim: Victim’s Age:
State Control #: 790009614699 Arrest Date: Indictment Filing Date: 04/30/2009 s
JUDGMENT i orginal [J Amended  [[] Corrected iE 3 Pa
Comes the District. Attorney General for the State and the defendant with counsel of record for entry of judgment. ma
Onthe 1b 4 day of Way, (adn ber— ,20 2014 , the defendant:
| II Pled Guilty [1] Dismissed/Nolle Prosequi Indictment: Class (circle one) 1° A &® C DE IB Felony (1 Misdemeanor
(1 Pled Nolo Contendere ; Indicted Offense Name AND TCA §:_39-13-402 AGGRAVATED ROBBERY
C] Pled Guilty ~ Certified Question Findings Incorporated by Amended Offense Name AND TCA §: oe
Reference : ‘ sory Offense Date: 10/17/2008 County of Offense: SHELBY =
Conviction Offense Name AND TCA §: 39-13-402 AGG ROBBERY.
Is found: CL) Guilty (J Not Guilty Conviction: Class (circle one) 391" A WR C DE HE Felony (1) Misdemeanor
C Jury Verdict (2 Not Guilty by Reason of Insanity Is this conviction offense methamphetamine related? [] Yes No
C] Bench Trial Sentence Imposed Date:

 

 

 

 

After.considering the evidence, the entire record, and in the case of sentencing, all factors in Tennessee Code-Annotated Title 40, Chapter 35, all of which are incorporated by
reference herein, it is ORDERED and ADJUDGED that the conviction described above is imposed hereby-and that a sentence and costs are imposed as follows:

 

 

 

 

 

 

 

 

 

Offender Status . Release Eligibility Concurrent with; Pretrial Jail Credit Perlod(s):
(Check One) (Check One)
(J Mitigated CI Mitigated 20% C1 Agg Rob wPrior100% [L11" Degree Murder O 90 LEST From | -{ 3-0 } to | 7 25-/ oO
[7] Standard CO Mitigated 30% C] Multiple Rapist 100% | [J Drug Free Zone : wet Lo
C] Multiple C1 Standard 30% C1 Child Rapist 100% C1) Gang Related oo From to a,
C7 Persistent C1 Muttipie 35% O Child Predator100% = Consecutive to: cs
C1 Career 0 Persistent 45% C1 Agg Rapist 100% :
il Repeat Violent CO career 60% 2 Mult 39-17-1324 100%, From 10.
CO Agg Rob 85% (C1 Att 1" Degree Murder w/SBI 85% :
( Violent 100% (2 Agg Child Neglect/Endangerment 70% From to
fj Repeat Viol100% 1 Agg Assault w/Death 75% OO
Sentenced To: i TDoc CO) County Jail [) Workhouse Lo ‘
Sentence Length: Years Months Days Hours CiLife “MEDLife w/out Parole [Death
Mandatory Minimum Sentence Length: 39-17-417, 39-13-513, 39-13-514, or 39-17-432 in Prohibited Zone or $5-10-401 DUI 4" Offense
or 39-17-1324 Possession/Employment of Firearm or 40-39-208, -211 Violation of Sex Offender Registry
Period of incarceration to.be served prior to release on probation or Community Corrections: Months Days Hours
Minimum service prior to eligibil ity for work release, furlough, trusty status and rehabilitative programs: % (Misdemeanor Only)
Alternative Sentence: | [Sup Prob [JUnsup Prob (J1Comm Corr (CHECK ONEBOX) _ Years Months ___Days Effective:

WAS DRUG COURT ORDERED AS A CONDITION OF THE ALTERNATIVE SENTENCE? C) ves 1 No

 

 

Court Ordered Fees and Fines: Costs to be Paid by... Restitution: Victim Name
$ Court Costs @ Defendant State
—_ Address
$ Fine Assessed
$ Traumatic Brain Injury Fund (68-55-301 et seq.)
$ Drug Testing Fund (TN Drug Control Act) Total Amount$______-= = Per Month $
$ CICF S$. Sex Offender:Tax _ Pep gti Re, es A
$ Other: ‘ C1] Unpaid Community Service: Hours | Days Weeks Months

 

 

 

 

 

 

 

Special Conditions

MB The Defendant having been found guilty is rendered infamous and ordered to provide a biological specimen for the purpose of DNA analysis,
1 Pursuant to 39-13-521 the defendant is ordered to provide a biological specimen for the purpose of HIV testing.
C7) Pursuant to 39-13-524 the defendant is sentenced to community supervision for life following sentence expiration.
1] Pursuant to Title 68, Chapter 11 Pat 10, the clerk shall forward this judgment to the Department of Health,

 

 

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Judge’s Name

| f\-72
James C. Beasley, Jr. wea (WwtyY (U/ &

 
  

DO VR. f/f
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Counsel for State/Signature (option:

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CR-3419 (Rev, 7/1/13)

[ Judge’s Signaturé : ttf Date of Enfy of Pagmer
) Defenda UDefendfnts elSignature (optional)

  

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ee te E ben : . .- .
. bY on are hereby commanded to take the by f the defendant, herein named, it to be found} our County Jail of Shelby County,

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" Tempéssee, thereafter to execute the Judgy iu. of the Court according to the sentence impost.. .3 shown on the attached Judgment, or until
said defendant be otherwise discharged according to the law.
foe z
aes a
Beit further noted that the defendant has currently pending, in the Criminal Courts of Shelby County, Tennessee, the following indictments
j being;still subject to the orders of this Court. ry
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WITNESS, KEVIN P. KEY, Clerk of the Criminal Court of Shelby County, Tennessee, at office in Memphis, Tennessee.

State of Tennessee mn
COUNTY OF SHELBY -
_ I, KEVIN P. KEY, Clerk of the Criminal Court of Shelby County, Tennessee, do hereby certify that the above.said and attached Judgment

is a true and perfect transcript of Judgment and currently pending indictments in the matter of the State of Tennessee vs. the herein named
defendant and indictments as they appear in my office. {3

By

IN TESTEYRNY WHERE Fj have hereunto set my hand ghd affixed the seal of this Court, at office, in the City of Memphis, Tennessee,
this the day of (20 .

RECORD eee NNUMBER

KEVIN P. KEY, CLERK
} (by, .
BY: Q. Aan.

DOCKET NUMBERS:

 

 

 

 

 

 

 

 

are over/under conviction (s) to Shelby County Jail/S.C.C.C/Penitentiary for a period of

 

 

 

 

 

ORDERS ATTACHED TO JUDGMENT:

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Case 3:22-cv-00149 Document 1 ste 03/01/22 Page 53 of 55 PagelD #: 53
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Case 3:22-cv-00149 Document 1 Filed 03/01/22 Page 54 of 55 PagelD #: 54
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